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                                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF FLORIDA
                                             MIAMI DIVISION

In re: Application Pursuant to                         )
28 U.S.C. 1782 of                                      )
                                                       )
FARHAD AZIMA                                           )        Case No.: 22-20707-cv-JEM
                                                       )
               Petitioner,                             )
v.                                                     )
                                                       )
INSIGHT ANALYSIS AND RESEARCH,                         )
LLC, and SDC-GADOT LLC,                                )
                                                       )
               Respondents,                            )
                                                       )
_______________________________________                )

             RESPONDENTS’ RESPONSE TO DE # 73, AND MOTION FOR SANCTIONS:

        Respondents, INSIGHT ANALYSIS AND RESEARCH, LLC and SDC-GADOT, LLC, by and

through the undersigned attorneys, hereby file this, their Response to Petitioner’s Motion to Compel

Compliance (DE # 73), and Motion for Sanctions, as follows:

     1. On January 3, 2023, this Court entered its Order found at DE # 62, which rendered in written form

        the Court’s rulings arising from the hearing held before the Court on December 21, 2022. Pursuant to

        DE # 62, the Court Granted in Part, and Denied in Part, Petitioner’s Motion to Compel Document

        Production (DE # 50), stating the following:

            a. As to Petitioner’s Motion to Compel Document Production (the “Motion to Compel”),

               ECF No. [50], the Court heard argument and provided its ruling subject to the Motion for

               Reconsideration. Specifically, should the undersigned recommend that the Motion for

               Reconsideration be denied and the District Court adopt that recommendation, the ruling

               on the Motion to Compel, for the reasons stated at the hearing, is as follows: (1) DENIED

               as to engagement letters; (2) GRANTED IN PART AND DENIED IN PART as to invoices

               and records of payments to vendors, subcontractors, and employees, such that Respondents

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           are ORDERED to produce bank records that are responsive to this category of documents;

           (3) GRANTED IN PART AND DENIED IN PART as to bank records, such that the bank

           records encompassed by the second category of documents shall be produced; (4)

           GRANTED IN PART AND DENIED IN PART as to accounting records and tax returns,

           in that Respondents shall produce accounting records relating to payments to the list of

           entities that shall be provided to Respondents by Petitioner; Petitioner withdrew the

           request as to tax returns; (5) GRANTED IN PART AND DENIED IN PART as to e-mail

           records, in that Respondents shall produce e-mails relating to the movement of funds for

           specific transactions, with the list of transactions to be provided to Respondents by

           Petitioner; (6) GRANTED IN PART AND DENIED IN PART as to WhatsApp and other

           messaging services, in that Respondents shall produce communications of these kinds

           relating to the movement of funds for specific transactions, with the list of transactions to

           be provided to Respondents by Petitioner; (7) DENIED as to travel records; (8) DENIED

           as to hacking reports; and (9) DENIED as to Azima’s hacked data.

2. On January 25, 2023, your undersigned sent Petitioner’s counsel a link containing a downloadable

   file of Bates marked documents (862 pages in total) responsive to the Court’s Order.

3. The following day, counsel for the Petitioner sent an email stating: “Chris – please confirm that

   your entire document production consists of exhibits we used during Forlit’s depositions. Thanks”.

   See Exhibit “1” filed herewith.

4. Petitioner’s counsel knew or should have known that the content of his mail was false, as Bates #

   399 – 752 were bank records (from CitiBank, Chase, and Bank of America) which Respondents

   obtained directly from the banks directly and which were not copies provided previously by

   Petitioner or his counsel. Furthermore, Bates # 835-856 were records obtained by Respondents




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   from the Florida Department of State, Division of Corporations, and produced by Respondents

   (having not been provided to Respondents previously by Petitioner or his counsel).

5. On February 10, 2023, Petitioner’s counsel sent your undersigned correspondence (see Exhibit

   “2” attached hereto) with a proposed list of “search terms”. The correspondence did not actually

   comply with DE # 62, in that per the Court’s Order Petitioner was to provide: “Respondents shall

   produce accounting records relating to payments to the list of entities that shall be provided to

   Respondents by Petitioner…”; “Respondents shall produce e-mails relating to the movement of

   funds for specific transactions, with the list of transactions to be provided to Respondents by

   Petitioner …”; and “…as to WhatsApp and other messaging services, in that Respondents shall

   produce communications of these kinds relating to the movement of funds for specific

   transactions, with the list of transactions to be provided to Respondents by Petitioner…”.

6. Petitioner did not provide a “list of entities” addressing accounting records per subsection (4) of

   the Court’s Order, and Petitioner did not provide “the list of transactions” for “the movement of

   funds for specific transactions” per subsections (5) and (6) of the Court’s Order. Instead, Petitioner

   provided a generic list of terms and names for “for you to use to search bank records, accounting

   records, emails, and messaging applications, …”

7. As noted previously during hearings held before this Court, both Respondents are non-operational

   entities, with no employees, no e-mail accounts, and no computer hardware. Given this,

   Petitioner’s “search terms” cannot produce any documents, as no documents exist to be produced

   and no accounts or hardware exist to be “searched”. After confirming this again, on March 28,

   2023 correspondence (attached hereto as Exhibit “3”) was again sent to Petitioner’s counsel,

   advising that no further documents existed to be produced beyond the initial 800+ pages of Bates

   stamped documents produced on January 25, 2023.




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   8. Petitioner and his counsel are well aware that no further documents exist, as during the Rule

       30(b)(6) depositions conducted in July of 2022 the corporate representative for the Respondents

       testified that when he communicated with Stuart Page (prior to the formation of either

       Respondent) an “electronic dead letter box” was utilized for communications, so that draft e-mails

       were contemporaneously deleted after reading, without transmission or recording/saving. As such,

       no e-mail account exists to be searched, and no hardware exists to be searched for archived or

       saved communications. Furthermore, the corporate representative for the Respondents advised

       that he had checked his phone and had no WhatsApp or other communications with Stuart Page,

       Neil Gerrard, or anyone else pertaining to this proceeding or the UK Proceedings.

   9. Knowing all of this, and without even bothering to have complied with DE # 62, Petitioner now

       seeks an Order “compelling” production of material that is not within the care, custody, or control

       of these Respondents, and which it knows these Respondents do not possess. Petitioner has now

       identified email accounts belonging to non-parties (amit@gadot.co and amit001@me.com) who

       have not been served and who are not before the Court, and is improperly seeking to have this

       Court Order the Respondents to somehow search these email accounts (despite them not belonging

       to the Respondents) for additional documents.

   10. Petitioner’s Motion goes well beyond DE # 62, and is just the latest filing in its bad faith scorched

       earth campaign, seeking to require the Respondents to once again appear before the Court for no

       reason, and where Petitioner himself has not complied with the requirements of the Court’s Order.

   11. The foregoing shows Petitioner’s continued bad faith use of this proceeding, and

       misrepresentation of facts to this Court, which this Court must finally rectify by the Denial of the

       Petitioner’s Motion and the imposition of sanctions under the Court’s inherent authority.

       WHEREFORE Respondents, SDC-GADOT, LLC and INSIGHT ANALYSIS AND RESEARCH,

LLC, respectfully request that the Court DENY DE # 73, that the Court sanction Petitioner and award the


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Respondents a recovery of reasonable attorney’s fees which they have incurred in connection with this

proceeding, and that the Court Grant the Respondents such other and further relief as this Court may deem

just and proper.

             CERTIFICATE OF COMPLIANCE WITH FONT AND PAGE REQUIREMENTS:

       The undersigned hereby certifies that this Motion complies with the requirements of Local Rules 5.1

and 7 pertaining to font size and length of this Motion.

                                        CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 17th day of April, 2023, that a true and correct copy of
the foregoing has been filed through the Court’s CM/ECF-filing portal and that a true copy has been served
through the portal upon all counsel of record in this action.

                                                     Respectfully submitted,

                                                By: /s/ Elan I. Baret, Esq.
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